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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )   Chapter 11
                                                       )
AMERIFIRST FINANCIAL, INC., et al., 1                  )   Case No. 23-11240 (TMH)
                                                       )
                                 Debtors.              )   (Jointly Administered)
                                                       )   Re: D.I. 21, 281, 310, 403, 404

          NOTICE OF FILING OF COMMITTEE’S PROPOSED FINAL ORDER 2
    (I) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION FINANCING AND
          (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE
          PROTECTION TO PREPETITION LENDERS, (III) MODIFYING THE
             AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

        PLEASE TAKE NOTICE that, on October 18, 2023, the official committee of unsecured
creditors appointed in the above-captioned chapter 11 cases (the “Committee”) filed the
Preliminary Objection of Official Committee of Unsecured Creditors to Motion of the Debtors for
Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 281),
and, on October 22, 2023, filed the Amended and Restated Objection of the Official Committee of
Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing
Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling
a Final Hearing, and (V) Granting Related Relief (D.I. 310) (collectively, the “Committee DIP
Objection”), objecting to the final relief sought by the debtors and debtors in possession in the
above-captioned chapter 11 cases (the “Debtors”) in the Motion of the Debtors for Interim and
Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the
Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 21) (the
“DIP Financing Motion”) and as reflected in the proposed order filed by the Debtors on October
6, 2023 (D.I. 231) (the “Proposed Final DIP Order”).

       PLEASE TAKE FURTHER NOTICE that, in an effort to aid the Debtors, Reverence
Capital Partners and its affiliates (“RCP”), other parties in interest, and this Court, the Committee
has revised the Debtors’ Proposed Final DIP Order to address the concerns raised by the
Committee in the Committee DIP Objection, which such draft is attached hereto as Exhibit A (the

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         The Debtors and the last four digits of their respective taxpayer identification numbers include:
         Phoenix 1040 LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address
         is 1550 McKelleps Road, Suite 117, Mesa, AZ 85203.
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         Consistent with a meet and confer with counsel to the Debtors and RCP, this proposed order was
         shared last night with them and counsel to the Office of the United States Trustee and Mr. Bowlby.
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“Committee’s Proposed Final DIP Order”), together with a redline comparing the Committee’s
Proposed Final DIP Order to the Debtors’ Proposed Final DIP Order attached hereto as Exhibit
B.

 Dated: November 21, 2023              MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                        -and-

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                                        COUNSEL TO OFFICIAL COMMITTEE OF
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